










Opinion issued August 25, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00477–CV




WALTER WADIAK, Appellant

V.

STATE OF TEXAS, Appellee




On Appeal from the 133rd District Court
Harris County, Texas
Trial Court Cause No. 2004-20348




MEMORANDUM OPINIONAppellant Walter Wadiak has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004-2005) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Walter
Wadiak did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of
rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Taft, Alcala, and Bland.


